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              EXHIBIT AA
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                                                     Phi ER M. SKrc\ER
                                                     Tel.: (212) 303-3654
                                                     E-mail: pskinnerbsfllp.com

                                                     May 16. 2016

VIA EMAIL

Mr. Brian Feldman
Harter Seacrest & Emery. LLP
1 600 Bausch & Lomb Place
Rochester. NY 14604-271 I
bfeldmanhselaw.com

       Re:     Me’er v. Kalunick, No. 15 Civ. 9796 (S.D.N.Y.)

Dear Brian:

        We write in response to your May 13. 2016 letter. We have now told you on multiple
occasions that Ergo has not conducted any further investigation since at least February 19. 2016,
and will not conduct any further inquiry in this case. Moreover, no one else has investigated
Plaintiff of Plaintiffs counsel. There is nothing more to say.

        With respect to your demands for additional information, our offer still stands to provide
the information you claim that you need to ensure that your client’s reputation has not been
“harmed.” Despite our repeated assurances that there is no further investigation ongoing. and
our repeated offers to provide you with the relevant information, you threaten to raise this to the
Court. We are willing to discuss the issue with you further this afternoon in a final attempt to
resolve this amicably, but we continue to maintain that involving the Court is unnecessary.


                                                      Sincerely.

                                                            /s/
                                                      PeterM. Skinner
